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EXHIBIT E

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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

ee ee ee LLL
IN RE: PHARMACEUTICAL : MDL NO. 1456
INDUSTRY AVERAGE WHOLESALE : CIVIL ACTION
PRICE LITIGATION : 01-CV-12257-PBS
- eee eee LL
THIS DOCUMENT RELATES TO:
U.S. ex rel. Ven-a-Care of : Hon. Patti B. Saris
the Florida Keys, Inc.
Vv.
Dey, Inc., et al.
No. 05-11084-PBS
~ ee ee eee eee ee

(CROSS NOTICED CAPTIONS ON FOLLOWING PAGES)

CONTINUED DEPOSITION OF T. MARK JONES
Washington, D.C.
Monday, December 8, 2008

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a false claims case.

BY MR. KATZ:

Q. This is the same NMC?
A. Yes.
Q. And the lawsuit was brought pursuant to

the federal False Claims Act?

A. Yes.

Q. Ven-A-Care was a relator?

A. Yes.

Q. Can you briefly describe the nature of

the NMC case in 1994?

A. The false claims case?
Q. Yes.
A. The nature of it.

MR. BREEN: Again, this is all 30(b) (1)
testimony, correct?
BY MR. KATZ:
Q. Yes.
A. In a nutshell, NMC had an outpatient
dialysis unit that we happened to investigate
during the course of our lawsuit with them. And

they were, what we found, falsifying --

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falsifying certificates of medical necessity to
qualify patients that are receiving ESRD
treatments, which is end stage renal disease, to
qualify them for a nutritional supplement called
IDPN, intradialytic parenteral nutrition. Very
few patients could ever qualify to receive it
through the program itself and we were able to
point out the false clams that they were
submitting, basically.

Q. How was this case resolved?

A. Well, it was through the Boston U.S.
Attorney's Office. The Boston U.S. Attorney
settled it.

Q. How much was it settled for?

A. I think that the total settlement was
over half a million -- half a billion dollars.
That's not the settlement that Ven-A-Care was
credited for. I think Ven-A-Care's portion was a
little over 300 million. And I don't -- I'm not
sure that's exactly accurate. There were other
relators involved that brought other claims

during the investigation.

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you. Having said that, I'll let the witness
answer to the best of his ability.

BY MR. KATZ:

Q. Go ahead.

A. Could you repeat that, please?

Q. On an NDC by NDC basis, or a drug by
drug basis, does Ven-A-Care allege to be the
original source of the information?

A. Ven-A-Care typically gave all of its
pricing and cost information in its complaints,
and to the federal government. Yes. Ven-A-Care
has provided the federal government with, you
know, our price and cost information as being an
industry insider. I think Ven-A-Care certainly
can say this information came from within Ven-A-
Care, yes.

Q. And so Ven-A-Care contends that it has
direct knowledge with respect to each of these
NDCs, is that right?

A. Yes.

Q. And that direct knowledge would relate

to pricing, is that what you said?

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1 A. Our pricing and cost records. Correct.
2 Q. Any other types of knowledge?

3 A. I believe all of our information came

4 from our pricing records, GPO records, wholesale
5 records. Now, we did have some companies

6 courting us like Pulmidose that would give us

7 information and prices on them as well. But no,
8 we had GPO -- contracts with several GPOs. We

9 had McKesson wholesaler. We had, you know,

10 traditional wholesalers. We had the special

11 wholesalers like JJ Balan, and ANDA and RDI. Our
12 information definitely came from that

13 marketplace.

14 BY MR. KATZ:

15 Q. What is Pulmidose?

16 A. Pulmidose was a company that was

17 courting Ven-A-Care and Criticare back in the

18 '90s. It was sort of a split fee situation where
19 Pulmidose would supply a particular amount of
20 drugs, and then pay a fee for supplying it.
21 There was some issues back in the '90s when they
22 didn't allow DME companies to bill for the

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chargeback the $30 to Dey, right?
A. Yes.
Q. And this is a concept that was
explained to the state and federal government

agencies, right?

A. I believe it was a part of our
presentations.
Q. And with respect to the federal

government, since 1995, Ven-A-Care has
continuously provided pricing information
relating to Dey's drugs, right?

A. I believe it was 1995 when Ven-A-Care
first provided the pricing information for Dey's
drugs.

Q. And you can look on the interrogatory
responses if it refreshes your recollection.

A. That's what it says.

Q. So 1995, right?

A. 1995.

Q. Where did Ven-A-Care obtain the pricing
information which it provided to the federal

government?

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MR. BREEN: Objection. Form.

THE WITNESS: Well, I believe -- and I
need to look at it to be sure, but we had GPOs in
'95 that had Dey's prices in there. We also had
wholesalers that would give us prices all the
time.

BY MR. KATZ:

Q. And there were few occasions where Ven-
A-Care obtained some prices directly from Dey?

A. I know that Lewis Cobo had some
communications with Dey. I wasn't aware of them.
I mean, I've seen -- I've seen the document where
one of the sales reps were talking to Lewis. So
yes, he could have gotten them directly from Dey.

Q. And then Mr. Cobo would then have
provided that information to Ven-A-Care and Ven-
A-Care would then have provided that information
to the federal government, is that right?

MR. BREEN: Objection. Form.

THE WITNESS: Well, I think Mr. Cobo,
if he was at Ven-A-Care doing it, would do it for

Ven-A-Care.

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